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     AO 91 (Rev. 11/11) Criminal Complaint                     AUSA John D. Mitchell (312) 353-5159
                                                              AUSA Grayson S. Walker (312) 697-4091
                                        UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
                                               EASTERN DIVISION
                                                                                      FILED
                                                                                          AUG   - s 20dlt/
     UNITED STATES OF AMERICA
                                                                                      THOMAS G. BRUTON
                                                          CASE NUMBER:
                                                                                  CLERK, U.S. DTSTRICT COURT
                             v.                           UNDER SEAL

     DESHAWN MORGAN,
           a.k.a. "Tiny," a.k.a. "Big Bro";
                                                           I9CR 64L
                                                            IvIAGISTRATE J UDGE VALDEZ
     DARIUS MURPIry,
           a.k.a. "Scudder" ; and
     DEMOND BROWN,
           a.k.a. "Looney''
                                             CRIMINAL COMPLAINT

            I, the complair.ant in this case, state that the following is true to the best of my knowledge
    and belief.
'   From in or about December 2017 to in or about February 2018, at Chicago, in the Northern District
    of Illinois, Eastern Division, and elsewhere, the defendants violated:
          Code Section                                 Offense Description
          Title 18 United States Code, Section         conspiracy to use, and cause another to use, an
          1958                                         interstate facility, that is, a cellular telephone,
                                                       with intent that a murder be committed, that is,
                                                       the murder of Donald Holmes, Jr. and Diane
                                                       Taylor, as consideration for a promise and
                                                       agreement to pay something of pecuniary value,
                                                       that is, United States currency

        This criminal complaint is based upon these facts:
          X    Continued on the attached sheet.

                                                            PAUL R. DAOU
                                                            Special Agent, Bureau     of   Alcohol,   Tobacco,
                                                            Firearms & Explosives (ATF)
    Sworn to before me and signed in my presence.

    Date: Ausust 9. 2019
                                                                         Judge's signat

     City and state:   Chicago.Illinois                  MARLA VALDEZ. U.S. Magistrate Judge
                                                                     Printed name and Title
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 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                       AFFIDAVIT

      I, PAUL R. DAOU, being duly sworn, state as follows:

      1.     I   am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms &

Explosives ("ATtr"'), and have been so employed since approxim4tely September 20L5-

      2.     As part of my duties as an ATF Special Agent, I investigate firearms

offenses, including violations of   Title   18, United States Code, Sections 922 and 924;

narcotics offenses, including violations of Title 21, United States Code, Sections

8a1(a)(1) and 846; and violent crimes, including violations of Title 18, United. States

Code, Section 1959    ffiolent Crimes in Aid of Racketeering) and Title 18, United
States Code, Section 1958 Q\{urder for Hire).      I have received training in the area of
gang investigations, fi"rearms investigations, narcotics investigations, money

laundering, and financial investigations.

      3.     This affi.davit is submitted in support of a complaint charging
DESIIAWN MORGAN (a.k.a. "Tiny," a.k.a. "Big Bro"), DARIUS MURPIfY (a.k.a.

"Skudder"), and DEMOND BROWN (a.k.a. "Looney") with conspiracy to commit

murder for hire, in violation of Title 18 United States Code, Section 1958. Because

this affidavit is being submitted for the limited purpose of establishingprobable cause

in support of a criminal complaint charging MORGAN, MURPIfY, and BROWN with

conspiracy to commit murder for hire, I have not included each and every fact known

to me concerning this investigation. I have set forth only the facts that I believe are
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necessary to establish probable cause to believe that the defendants committed the

offense alleged" in the complaint.

       4.      This affidavit is based on my personal knowledge based on my
participation in the investigation, the results of physical surveillance, information

provided to me by other law enforcement agents, court-authorized intercepted phone

calls, consensually recorded conversations, recorded jail phone calls, witness

interviews, including interviews with confi.dential informants and cooperating

defend.ants, records from various      law enforcement databases, my training       and

experience, and the training and experience of other law enforcement offrcers with

whom   I   have consulted.

I.     FACTS SUPPORTING PROBABLE CAUSE

       5.      In summary, law     enforcement officers from ATF, the Chicago Police

Department ("CPD"), the Drug Enforcement Administration, and the Internal

Revenue Service have obtained evidence showing that, between in or about December

2Ot7 and February 2018, DESHAWN MORGAN hired DARIUS MURPIfY and

DEMOND BROWN to murder Donald Holmes, Jr. (a.k.a. "Don Don') and Diane

Taylor in exchange for approximately $5,000 and an assault            rifle.   MORGAN,

MURPIry, and BROWN used their cellular phones to coordinate this murder-for-hire

conspiracy and to lure Holmes, Jr. to the scene of the murder. As discussed below:

               a.     On January 31, 20L8, at approximately 11:13 p.o.,          Donald.

Ho1mes,     Jr. and Diane Taylor were murdered inside Holmes, Jr.'s 2017 Jeep
Cherokee while parked on     the   4700 block of   Arthington Street on the west-side of
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Chicago. Both victims were shot multiple times in the back of the head by a Smith

and Wesson 9 mm semiautomatic pistol.

             b.     In September and October 2018, a cooperating defendant, acting

at law enforcement's direction, wore a concealed recording device and participated. in

recorded conversations inside Cook County Jail with MURPIIY and BROWN. During

those recorded conversations, MURPIIY and BROWN explained that MORGAN

hired them to murder Holmes, Jr., because MORGA.N believed Holmes, Jr. was

working as a confi.dential informant and providing information to law enforcement

about, among other things, MORGAN's heroin traffrcking. During the recordings,

MURPIIY admitted that he was the one who shot and killed both Holmes, Jr. and

Taylor, and he explained that he did so by shooting each of them in the head. several

times. MURPIIY and BROWN stated that, after carrying out the double murder,
MORGAN paid them at least $5,000 and an assault rifle.

             c.     Though he was not working with law enforcement at the time of

his murder, Holmes, Jr. had in fact been a cooperating source with the FBI.

             d.     On November 30, 2017, MORGAN made arrangements over               a

lawfully intercepted call to pick up one or more firearms foom Holmes, Jr.'s residence.

Following this cal1, surveillance observed MORGAN leaving Holmes, Jr.'s residence

and stopped him and searched his car after he departed the area. Following this

incident, MORGAN began telling multiple people that he suspected Holmes, Jr. of

cooperating with law enforcement and that he wanted" Holmes, Jr. kiIled.
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             e.       Court-authorized historical cell site data for MURPIfY and

BROWN's respective phones show that both phones were in the area of the murders

at the time Holmes, Jr. and Taylor were killed. In addition, probation records show

that MURPIIY lived less than 50 feet from the scene of the murders, and BROWN's

phone was found. to have a video, apparently taken from an upper floor of MURPIIYs

resid.ence, of police processing the scene of the murders soon after Holmes,        Jr. and

Taylor were kiIled.

             f.       Phone records and surveillance video from a near-by gas station

show   that MORGAN, MURPIry, and BROWN were in touch with Holmes, Jr.
immediately before Holmes, Jr. was killed. These phone contacts are consistent with

the recorded conversations that CD-1 had with BROWN and MURPIIY inside Cook

County Jail, during which they stated that, at MORGAITI's direction, they lured

Holmes, Jr. to the scene of his murder under false pretenses.

             g.       During consensually recorded meetings with CD-1, BROWN and

MURPIry stated that they purchased       a car   with   a portion of the money they received

from MORGAN for killing Holmes, Jr and Taylor. Information seized from BROWN's

phone and obtained from Witness 2 show that BROWN did in fact purchase a car the

day after the murders.

             h.       On or about February 5, 20l8-approximately five days after

Holmes, Jr. and Taylor were murdered-MORGAN, MURPIIY, and BROWN met

each other   at the   scene of   the murders, at which location MORGAN hand.ed an

unidentified object (possibly money) to MURPIfY.




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             i.      Consensually recorded calls between BROWN and MURPIry,

phone location information, and seized text messages from BROWN's phone show

that, in the days following the murders, BROWN traveled to Minnesota and traded

the fi.rearm that MURPIIY used to kilt Ho1mes, Jr. and Taylor to Individual          C.

Individual C      in turn   transferred that fi.rearm-a Smith and Wesson        I   mm

semiautomatic     pistol-to   Ind.ivid"ual   D, whom law enforcement later found in
possession of the weapon. Ballistic testing subsequently showed      that the fi"rearm

recovered from Individual D was the same firearm used to murder Holmes, Jr. and

Taylor on January 31, 2018.

      A.     The Murder of Holmes, Jr. and Taylor

      6.     On January 31, 2018, at approximately 11:13     p.il., Holmes, Jr. and his

girlfriend, Taylor, were murdered on the 470}b1ock of Arthington Street on the west-

side of Chicago. The murder occurred inside Ho1mes, Jr.'s 2017 Jeep Cherokee.

According to police reports and photographs of the scene:

             a.      Holmes, Jr. was seated. in the front passenger's seat of the Jeep

Cherokee and died from four gunshot wounds to the back of his head. Taylor was

seated in the driver's seat of the Jeep Cherokee and died from two gunshot wounds

to the back ofher head.

             b.      Law enforcement offrcers arrived at the scene shortly after the

murders. Inside the Jeep Cherokee, officers recovered six shell casings, and outside

the Jeep Cherokee officers recovered. one additional shell casing. Based. on ballistics

testing, Iaw enforcement officers determined that aII seven shell casings were fired
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from a Smith and Wesson 9 mm semiautomatic pistol.

       B.     A Cooperating Defendant Implicates MORGAN, MURPHY, and
              BROWN in the Holmes, Jr. and Taylor Murders

       7.     In or about August       2018, law enforcement officers interviewed a

cooperating defendant ("CD-1"),1 who stated that he had information relating to the

murder of Holmes, Jr. and Taylor. During interriews with law enforcement, CD-l

explained that:

              a.     Based on information from BROWN and other sources, CD-l

believed that MORGAN may have hired MURPIIY and BROWN to murder Holmes,

Jr.

              b.     CD-1 is a senior member of the Wicked Town faction of the

Traveling Vice Lords street gang ("Wicked Town TVLs") and also a long.time friend

of Holmes,   Jr.   BROWN and MURPIIY are younger, more junior members of the

Wicked Town TVLs. Based. on CD-l's standing in the gang and relationship with

Holmes, Jr., BROWN and MURPIIY would recognize that they owed CD-1 an

explanation as to why they had murdered CD-1's friend., Holmes, Jr., and his friend's

girlfriend, Taylor. Accordingly, if BROWN and MURPIIY had in fact conspired with

MORGAN to murder Holmes, Jr. and Taylor, BROWN and MURPIry would speak

with CD-1 about their roles in the murders.



: CD-1 has criminal convictions for narcotics trafficking, firearms offenses, and violent
felonies. CD-1 is cooperating in the hope of obtaining a reduced sentence for pending federal
narcotics and firearms charges. No promises have been made to CD-1 about what
consideration CD-1 may receive for herlhis.cooperation. The information provided by CD-1
has proven to be reliable and has been corroborated. by, among other things, consensually
recorded meetings.



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         8.     Agents obtained a copy of a letter from the Illinois Department of

Corrections that CD-1 claimed he had received from BROWN while they were both

in custody at StatevilIe Correctional Center in JoLiet, Il1inois. In the letter, BROWN

suggested,     in   coded language,   that he had a role in murdering Holmes,          Jr.   For

example, BROWN wrote, "I let Blood MORGANI trick me on dude MORGAN tricked

BROWN into participating in the Holmes, Jr.'s murder]." BROWN also wrote, "I need

to work my way your way so that          I   can rap with you one-on-one...It's a lot of shit

that's been going on that I'm not trying to put in this kite [a'kite' is an unauthorized

letter passed between prisoners] but we will talk soon."z

         C.     Recordings at Cook County Jail in September and October 2018

         9.     In   September and October 2018, CD-1, acting           at law enforcement's
direction, wore a recording device inside Cook County Jail and participated in

recorded conversations with BROWN and MURPIIY. As discussed below, during

these record.ed. conversations, BROWN and MURPIIY discussed,                   in d"etail, how
MORGAN paid them to murder Holmes, Jr. and his girlfriend, Taylor.



2   Some of the documents and lawfully-recorded conversations obtained in   this case ('recorded.
conversations") have been summarized in this Affidavit. The language that is quoted from
the recorded conversations throughout this Affidavit is based. upon a preliminary review of
the recorded conversations, and not final transcripts of the record.ed conversations. The times
listed. for the recorded. conversations are approximate and in central time, unless otherwise
noted. The summaries do not include aII statements or topics covered during the course of
the recorded conversations. At various points in the Affidavit, I have included in brackets my
interpretation of words and phrases used. in the recorded conversations. My interpretations
are based on information received from CD-l, the contents and context of the recorded
conversations, events that took place before and after the conversations, my knowledge of the
investigation as a whole, my experience and training, and the experience and training of
other law enforcement agents in this investigation.
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              1.     BROWN Tells CD-1 that MORGAN Hired BROWN and
                     MURPHY to Murder Holmes, Jr.
       10.    On September 25, 2018, CD-l, acting at agents' direction, met with

BROWNs inside Cook County       Jail. Prior to this meeting,   agents outfitted CD-1   with

concealed audio recording equipment and used surveillance cameras inside Cook

County Jail to observe CD-1 meet with BROWN. During this meeting, BROWN and

CD-l had multiple conversations throughout the day about the murder:

              a.     BROWN told CD-l that MORGAN had tricked BROWN and

MURPIfY into committing the murder by telling BROWN and MURPIfY that

Holmes, Jr. was working as a confidential informant and was providing information

to law enforcement about both CD-1 and MORGAN (a.k.a. "Tiny';.a BROWN stated

that MORGAN convinced BROWN and MURPIfY to murder Holmes, Jr. by saying

to BROWN and MURPIry, "'He lHolmes, Jr.l sent the police to [CD-1's] crib. He got

me [MORGAI.{] Iocked. up [MORGAN said that Holmes, Jr. had given information to

law enforcement about both MORGAN and CD-11."'




3 Agents identified BROWN and BROWN's voice as follows: Agents used video surveillance
cameras inside Cook County Jail to monitor the meetings between BROWN and CD-l, and
agents familiar with BROWN's voice based on in-person interviews and BROW\l's recorded
Cook County Jail calls positively identified BROWN as the person who participated in the
record.ed conversations with CD- 1.
aDuring the investigation, agents have interviewed. numerous witnesses, including CD-1,
CS-l, and Witness 1, who have identified a photograph of DESHAWN MORGAN as the
person they know by the nickname "Tiny." Further, during court-authorized intercepted calls
over MORGAN's phone, MORGAN and numerous people with whom he spoke regularly
referred to MORGAN by the nickname "Tiny."
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              b.     BROWN also explained how he, MORGAN and MURPIry lured

Holmes, Jr. to the 4700 block of West Arthington Street on January 31, 201"8 for the

purpose of murdering    him. BROWN stated that MORGAN               owed Holmes, Jr. a gun

and some cash, and MORGAN, BROWN and MURPIfY agreed that they would tell

Holmes, Jr. to retrieve the gun and money from MURPIIY on the 4700 block of West

Arthington Street, where MURPIIY             lived. Specifi.cally, BROWN said, "Tiny
MORGANI owed Don Don [Holmes, Jr.] a pipe [a firearm]...Tiny [MORGAN] was

like, 'Look, this how you   d.o   it, man. TeIl him   [Ho1mes,   Jr.] that you [BROWN] got

that for him, the pipe [the fi.rearm].' Know what I'm saying? That's how I got him

over there. 'I got this pipe [firearm] and a couple of dollars for you.' You feel me?"

              .     CD-l said, "Yeah, you should of stood down when you see her
though IBROWN and MURPIfY should have called off the murder when they saw

Taylor in the vehicle with Holmes, Jr.l. Dude MORGANI knew what he was doi.ng

because he knew she always gonna be          with him when he taking care of business

MORGAN knew that Taylor would be in the car with Holmes, Jr. on January 31,

20181." BROWN agreed, saying, "Tiny MORGANI a grease ba1l, man."

             d.     BROWN stated that MORGAN had paid BROWN and MURPIIy

for the murder. CD-1 asked, "But did he pay you though ldid MORGAN pay you for

the murder]?" BROWN answered, "He still owe me, fuck, 10 [$10,000]." CD-1 asked,

"He didn't grve you the 10 [$10,000]?" BROWN answered, "Yeah, he gave me that.

But he still owe me. [MORGAN still owed some of the money for the murder]."




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               e.    BROWN suggested that MORGAN would have to pay more

money because he and MURPIfY also had to murder Taylor. BROWN said, "Give a

mother fucker five now and fi.ve later [$5,000 immediately after the murder and

$5,000   later]....It was never supposed to have went how it went. You see what I'm

saying? Man, motherfucker got to pay me something e1se, too IMORGAN owed more

money because BROWN and MURPIIY had agreed               to murder Holmes, Jr., not
Taylorl."

               f.    CD-1 and BROWN also discussed. the fi.rearm MURPIfY used to

murder Holmes, Jr. and. Taylor. CD-1 said, "I hope you were smart enough to... [get

rid of the murder weapon]." BROW'N said, "I got rid of that motherfucker [the murder

weapon] the next morning."

               g.   BROWN discussed       a search warrant that law enforcement
executed on February'1,2018         at MURPIfYs house on the      4700 block of West

Arthington Street.s BROWN said, "The crib right there MURPII\Ps house is on

Arthington, near the murder]. They [aw enforcement] hit the crib.         I   had moved

everything out of there already."

               2.   MURPHY Tells CD-l that MORGAN Paid Him Money to
                    Murder Holmes, Jr., and that MURPHY Shot Holmes, Jr.
                    and faylor Multiple Times in the Back of the Head.
         11.   On September 28, 2018, CD-1, acting at agents' direction, met with




5Law enforcement did in fact execute a search warrant at MURPIIY's residence on or about
February 7,2018.




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MURPIryc inside Cook County Jail. Prior to these meetings, agents outfitted CD-1

with concealed audio recording equipment and used. surveillance cameras inside Cook

County Jail to observe CD-1 meet with MURPIIY. During the meetings, MURPIIY

and CD-1 had multiple conversations throughout the day about the murder:

              a.    MURPIIY explained how he murdered Holmes, Jr. and Taylor.

MURPIry said, "Don Don [Ho1mes, Jr.] dead now." CD-1 replied, 'Yeah, I know. I

know. I was a little bit salty because, you know, that's like a brother. You feel me?

[CD-1 was not happy that MURPIry and BROWN had murdered Holmes, Jr. because

CD-1 viewed Holmes, Jr. as a brother]."

              b.    MURPIfY said, "Look, his name came up in the paperwork. I'm

talking about paperwork MURPIIY said that Holmes, Jr. was acting as a law

enforcement informant and his name appeared on a search warrant or documents

produced during discovery in a criminal case]."

              c.    MURPIfY said, "After that I know who Don Don is, you feel me?

I   gotta do him. You feel me [MURP]IY found out that Holmes, Jr. was providing

information to law enforcement]? After that, Tiny MORGANI come get down on me,

man. MORGAN said,]'Don Don [Holmes, Jr.], this the same motherfucker.'Ok, what

you got for me MURPIIY asked what MORGAN would. pay MURPIfY to murder

Holmes, Jr.]? He said, 'I got a couple of bucks for you, bam."



6Agents identified Mtl.RPIfY and MURPIfY's voice as follows: Agents used video surveillance
cameras inside Cook County Jail to monitor the meetings between MURPIfY and CD-1, and
agents famfiar with MURPIIY's voice based on in-person interviews and MIIRPIIY's
recorded Cook County Jail calls positively identified MIIRPIfY as the person who
participated in the recorded conversations with CD-l.



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              d.     MURPIT explained that he agreed to commit the murder,
saying, "We get up with Don Don. 'Put me in the car with him [MURPIIY told

MORGAN to give him (MURPHY) the opportunity to get in a car with Holmes, Jr.              so

he could commit the murder]."'

             e.     MURPIry explained how he murdered Holmes, Jr. and Taylor

inside Holmes, Jr.'s vehicle. Specifically, MURPIry said, "I call the n------. 'I'm at the

house MURPIIY told Ho1mes, Jr. to come to MURPIfVs house on the 4700 block of

West Arthingtonl. He [Holmes, Jr.] pull up.'His bitch [Taylor] driving. He [Holmes,

Jr.] in the passenger seat. He fHolmes, Jr.] try to hand me something through the

window [Ho1mes, Jr. tried to get the gun and money from MURP]ry through the

passenger's sid.e window]. I say, 'naw, man.'    I get in the back seat. Shoot that bitch in

the back of his shit. Pow Pow! IMURP]IY entered the back seat of the Jeep Cherokee

and shot Ho1mes, Jr. twice in the back of the head]."

             f.     MURPIry continued, "His bitch tried to bail out. I grabbed her by

the back of her wig. I said, 'Where you going?'Pow Pow! I hit her in her shit two times

[Taylor tried to flee, but MURPIfY grabbed her by her hair and shot her twice in the

back of the head]. Then     I turn, hit him in his shit two more times. Pow Pow!
MURPIIY shot Holmes, Jr. two more times in the head]. Take the work. I'm out this
bitch MURPIIY took Holmes, Jr.'s money and/or drugs and fled]."

       L2.   On October 15, 2018, CD-1 again participated in recorded conversations

with MURPIry inside Cook County Jail. Prior to these meetings, agents outfitted

CD-1   with concealed audio recording equipment and used sulveillance              cameras




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inside Cook County JaiI to observe CD-1 meet with MURPIIY. During the meetings,

MURPIry and CD-1 had additional conversations throughout the day about the

murder:

                a.    MURPIry said, "I didn't know Don Don [Holmes, Jr.] from a can

of paint. So   it ain't my fault I kilIed him." CD-1 said, "I aint'gonna worry about it."
MURPIIY responded, "Listen!        It like if you call me and say, 'KilI this n-----. He
snitching on me.'I don't know dude. I'm gonna take your word. You're one of the guys.

f'm gonna kill him! That's what happened. Dude MORGANI called me. Alright, fm

fitting to do it MURPIfY killed Holmes, Jr. because MORGAN said Holmes, Jr. was

grving information about MORGAN and CD-1 to law enforcement, and MURPIfY

would do the same thing if CD-1 needed MURPIry to kiII someonel."

               b.     MURPIIY added, "Tiny MORGANI called. Alright? I don't know

the n-----. You feel me? You would kil1 a n---- you don't know for one of the guys, right

MURPIIY did not know Holmes, Jr., but he killed him at MORGANs directionl?"
               c.     MURPIIY explained that MORGAN paid MURPIry and BROWN

after the murder. Specifically, MURPIIY said, "I do him. I do him dirty MURPIIY

ki1led Holmes, Jr.l. Then the n-----, Tiny [MORGAN] bring me some money. He bring

me $2,500 at first. I'm like, 'Wrat's this for?' He like, 'For the work you did the other

d.ay.'He say, 'I'm waiting on the other half.'Like two days go by and he brings me the

other $2,500."

               d.     MURPIIY added that MORGAN also gave MURPIry an assault

rifle. "They bring me a'chopper.'An AR [Assau1t Rifle]. You know the one Demond



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IBROWNI got locked up with? That was mine...It was an AR pistol. That bitch like

this big.   It take 5-5-7 bullets. MORGAN's payment for the murder      included an

assault rifle pistol, which Chicago Police Officers seized from BROWN on or about

March 13, 2018]." Aphotograph of the assault rifle pistol that law enforcement seized

from BROWN on March 13, 2018 is pictured below:




              e.    MURPIfY stated that he and BROWN purchased a used car with

some of the money    that MORGAN paid them for the double murder. Specifically,

during the recordings, CD-l asked, "Did he MORGANI pay you the whole thing?"

MURPIfY answered, "Tiny came out the blue and gave me five bucks [$5000]. I'm

like, I buy a car. Before I buy a car, we go shopping."

              t.    Later, MURPIIY said, "Man, the next day [February 1, 2018, the

day after the murder], we go buy a car. You feel me? Demond [BROWNI get the car

took trying to be with this bitch."




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         D.     Other Evidence Comoborates the Cook County Recordings

         13. During the investigation, law enforcement officers have gathered
substantial evidence confirming that MORGAN in fact paid MURPIIY and BROWN

to murder Holmes, Jr. and Taylor. Some of the corroborating evid"ence is summarized.

below.

                1.     Holmes, Jr. Previously Worked as a Paid FBI Cooperating
                       Source

         14.    As qoted above, during the recordings at Cook County Jail, MURPIfY

and BROWN stated that MORGAN hired them to murder Holmes, Jr. because

MORGAN believed Holmes, Jr. was working as a government informant. During the

investigation, law enforcement officers have learned that, beginning in or about2010,

Holmes, Jr. in fact worked as a confi.dential human source for the        FBI.   Ho1mes, Jr.

received compensation from the FBI for his work as a confidential source.

         15.    For example, i.n 201t, Holmes, Jr., at the FBI's direction, wore recording

devices during       a controlled purchase of more than 100 grams of heroin             from

Individ.ual A, a member of the Black P Stones street gang. Based on Ho1mes, Jr.'s

controlled purchase of heroin, in August 2016 a judge in the United States District

Court for the Northern District of Illinois sentenced Individual A to 60 months'

imprisonment.T




7   In 2013, Holmes, Jr. was sentenced to 6 years'imprisonment in the IUinois Department of
Corrections based on a conviction for manufacture/delivery of a controlled substance Qreroin),
and he had not worked as an FBI paid confidential source since that time.



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              2.     MORGAN Begins to Suspect Holmes, Jr. is Working with
                     Law Enforcement, and Arranging to Have Him Killed,
                     After Police Stop and Search MORGAN for a Firearm that
                     he had Obtained from Holmes, Jr.

       16.    In   2077   and 20L8, Iaw enforcement offi.cers were engaged in             an

investigation of violence and narcotics trafficking on the west side of Chicago, and as

part of that investigation identified MORGAN, Holmes, Jr., and others who were

working together to distribute heroin in and around Chicago. On or about November

8,2017, Presiding Ju,ilge Leroy K. Martin, Jr. of the Circuit Court of County, Illinois,

entered an order authorizing the interception of wire communications to and from a

phone used by Holmes, Jr. ("Holmes, Jr. Phone 1").

       L7.    On November 30, 20L7 (Session 96727)-approximately two months

before Holmes, Jr. was murdered-Holmes, Jr., who was using Holmes, Jr. Phone              1,8


had a three-way call involving MORGAN, using MORGAN Phone l,e and one of their

narcotics trafficking associates, Individual      B.   During the cal1, MORGAN asked,

"Mfhere you put the lick [firearm]?" Individual B answered,      "I got it with me. It right


8 Agents identified Holmes, Jr. as the user of Holmes, Jr. Phone 1 as follows: In May 2017,
law enforcement officers conducted survei-llance and identified Holmes, Jr. based on a
positive comparison to one of Holmes, Jr.'s CPD booking photos. On June 6,20L7, LEOs used
a pole camera to conduct surveillance and observed Holmes, Jr. sitting on the front porch of
his residence on the 4700 block of W. Maypole Avenue with a cellular phone in his hand.
During this surveillance, officers placed a covert phone call to Holmes, Jr. Phone I at 5:27
p.m. and observed Holmes, Jr. answer the phone. At 5:28 p.m., officers placed a second covert
caII to Holmes, Jr. Phone 1 and again observed Holrnes, Jr. answer the phone. Further,
Holmes, Jr. Phone 1 was found on Holmes, Jr.'s person at the time of his death on January
31, 2018.
eLaw enforcement officers identified DESIIAWN MORGAN as the user of MORGAN Phone
1 basedin part on the following. Law enforcement officers familiar with MORGAN's voice
based on, among other things, in-person interviews with MORGAN and recorded Cook
County Jail calls placed by MORGAN positively identified MORGAN in this calI.



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here at shorty's crib. I'I1 grab it and bring it to Maypole right now findividual B agreed

to bring the firearm to Holmes, Jr.'s residence, which was located on the 4700 block

of West Maypole Avenue     in Chicago]." MORGAN said, 'Yeah, grab it fthe firearm].

I'11meet you right now."

       18.   Following this intercepted call, surveilIance observed MORGAN exit

Holmes, Jr.'s residence on the 4700 block of W. Maypo1e, enter a silver Hyundai Santa

Fe, and drive away from the area. Based on the aforementioned intercepted call, law

enforcement of6.cers believed that MORGAN might have retrieved a firearm from

Holmes, Jr.'s residence and initiated a stop of MORGAN's car on the 4000 block of

West Chicago Avenue. During the stop:

             a.     Several offi.cers, including several plain-clothed offi.cers driving

covert unmarked police vehicles, were involved          in this stop.     Based on the

aforementioned caII that suggested MORGAN was armed, several of the officers

approached the vehicle with their service weapons drawn.

             b.     MORGAN provided the offi,cers with a Wisconsin driver's license

bearing his name and photograph. Law enforcement offi.cers conducted a search of

MORGAN's vehicle but did. not recover any firearms, and released him without

charges.

      19.    Later that day, at approximately 3:45 p.m. (Session 96900), MORGAN,

using MORGAN Phone 1, had a phone call with Holmes, Jr., who was using

HOLMES, JR. Phone 1. During the call:

             a.     MORGAN said, "Man, someone put 12 ftaw enforcement] on me,




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bro." Holmes, Jr. asked, "What happened?" MORGAN responded, "Billion cars.

Billion cars. On my kids [reference to traffic stop from earlier that day involving

numerous officers]." Holmes, Jr. responded, "Get the fuck out of here."

                   b.    MORGAN added, "Four or five unmarked [unmarked police cars]

trail us. But I     sweep em." Holmes, Jr. asked, "Afbqr you picked the move [the gun] up

or   aft,er?" MORGAN answered, "Afber        I picked the move up. On my kids. We three,
three deep. Three moves MORGAN had picked up three guns]...police everywhere."

Holmes,    Jr. asked, "They didn't do shit though [officers did not find the     guns]?"

MORGAN answered, "Boxed us in. Tried to box us in. Like 50 cars [describing the

traffi.c stopl."

        20.        Based on my training, experience, and familiarity    with this case-
includ.ing   the aforementioned intercepted calls, CD-l's consensually record.ed
meetings with BROWN and MURPIIY, and information obtained from Witness 1 and

CS-1 (discussed below)-I believe that, by the time law enforcement stopped

MORGAN and searched his vehicle on November 30, 20L7, MORGAN (a) began to

believe   that Holmes, Jr. was cooperating with law enforcement; and @) started
developing a motive to have Holmes, Jr. kiiled.

        2L.        According to an ind.ividual who lived. with MORGAN in December 2OL7

and January 2018 ("Witness 1"), approximately one month after MORGAN was

stopped and searched_by police, and approximately one month before Holmes, Jr. and

Taylor were murdered, Witness        t   heard MORGAN talking about his suspicions that

Holmes, Jr. was cooperating with law enforcement. Specifically, according to Witness




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1,   in or about late December 2017 or early January 2018 MORGAN said something

to the effect of, "That n----- Holmes, Jr. was probably wearing a wire."

        22.   In mid-December Z}L7-approximately one month after MORGAN was

stopped and searched by police, and approximately a month before Holmes, Jr. and

Taylor were murdered-a confidential informant ("CS-1")10 advised law enforcement

that he had recently met with MORGAN, at MORGAN's request, at a Leamington

Foods   in Bellwood, Illinois. According to CS-l, during this unrecorded meeting:

              a.     MORGAN told CS-1 that he believed that Holmes, Jr. was

working with the "Feds" and providing federal law enforcement officers with

information about unlawful activity of both MORGAN and CS-l-.

              b.    MORGAN said that his suspicions about Holmes, Jr. were based

on a recent trafEc stop by law enforcement offi.cers. MORGAN recalled that he was

on his way to pick up a gun, which MORGAN referred to as a "pipe," and he was

stopped by police shortly after picking up the gun.

              c.    MORGAN further told CS-1 that the officers who participated in

the traffic stop had "guns drawn" and they jumped out of "regular looking cars,"

rather than exclusively marked. squad cars. MORGAN told CS-1 that Holmes, Jr.



10 CS-1 began cooperating with law enforcement in.November 20L7 in the hope of receiving
favorable treatment with respect to imminent federal firearms charges. During the course
of CS-1's cooperation, she/he received approximately $5,000 in monetary compensation from
law enforcement. CS-L provided credible information that was corroborated through
consensually recorded phone calls, controlled purchases/meetings, and other sources. CS-1
was ultimately charged with a firearms offense and not given cooperation credit, due to an
unauthorized narcotics for firearms transaction that occurred in December 2A17. CS-1 has
several arrests and convictions for narcotics-related offenses and other offenses.



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was the only person who knew that MORGAN had picked up the gun, and MORGAN

told CS-1 that Holmes, Jr. must have been the person who disclosed the information

to the law enforcement officers who initiated the traffic stop.

              d.     MORGAN said that Holmes, Jr. was going to bring MORGAN and

CS-1 "down"   if he wasn't killed.

              e.    MORGAN and CS-1 agreed that CS-l would murder Holmes, Jr.,

and CS-1 stated that he would shoot Holmes, Jr. from far away using a rifle.

MORGAN told CS-1 that it would not be necessary for CS-l to shoot Holmes, Jr. from

far away. Instead, MORGAN told CS-l that          CS-1 should arrange to meet with

Holmes, Jr. to purchase heroin. MORGAN stated. that CS-1 should. arrive for the

heroin purchase and then "blow [Holmes, Jr.'s] brains out and drive away," and

nobody would. suspect CS-1 because CS-l did not live in the neighborhood.

      23.     Based on my training, experience, and familiarity     with this case-
including the aforementioned intercepted. calls, CD-l's consensually recorded

meetings with BROWN and MURPIIY, information obtained from Witness 1 and" CS-

1, and information obtained from the scene of the   murders-I believe that:
              a.    CS-1's account of MORGAN's reason for wanting Holmes, Jr.

killed, namely, Holmes, Jr.'s suspected involvement in a police stop of MORGAN

following MORGAN's collection of a fi.rearm, matched the sequence of events on

November 30, 2017, when police stopped MORGAN following intercepted calls in

which he arranged. to pick up a firearm from Holmes, Jr.'s resid.ence;

              b.    CS-l's account of MORGAN's suggestions for killing Holmes, Jr.,




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including luring Holmes, Jr. to the scene of the murder with a ruse call and killing

Holmes, Jr. at close range by shooting him in the back of the head, mirror (i) the

suggestions that BROWN and MURPI{Y said they received from MORGAN prior to

their murder of Holmes, Jr. and Taylor and (ii) the manner in which Holmes, Jr. and

Taylor were ultimately killed; and

               c.     MORGAN did in fact ask CS-1 to        kilI Holmes, Jr. in December
2017 ,   only weeks before Holmes, Jr. and Taylor were killed.

               3.     MURPHY and BROWNWeTe near the Murder Scene on the
                      Night of the Murder
         24.   In December 2OirT,MURPIIYwas released from the Illinois Department

of Corrections Youth Facility and. placed on juvenile parole by the Illinois Department

of
     'Juvenile Justice. According to parole records and information from MURPIfYs

parole offi.cer, on January 31, 2018-the day Ho1mes, Jr. and Taylor were murdered-

MURPIIY resided at 4738 West Arthineton Street in Chicago, Illinois. According to

police reports and other evid.ence, the Jeep Cherokee in which Holmes, Jr. and Taylor

were murd.ered" was parked less than 50 feet from MURPIfYs residence , at 4734West

Arthington Street.

         25.   According to court-authorized historical cell site data for HOLMES, JR.

Phone, MURPIIYs phone ("MURPIfY Phone            l"),tt   and BROWNs phone ("BROWN


11MIIRPIfY was id.entified as the user of MURPIIY Phone 1 based in part on the following.
In January and February 2018, MURPIIY was on juvenile parole based on a juvenile armed
robbery conviction. As a requirement of his parole, MLIRPIfY was required to provide an
updated phone number at which he could be reached by his parole officer. As of January 31,
20L8, the phone number on flle for MIIRPIIY was the phone number for MURPIfY Phone 1.
Further, according to MURPIfYs parole officer, he/she has called MURPIfY at MURPIIY



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Phone 7"),rz MURPIIY Phone 1 and BROWN Phone 1 were in the area of 4738 West

Arthington Street at the time Holmes, Jr. and Taylor were murdered on January 31,

2018, at approximately 11:13 p.m.

       26.      In addition, on March 14,2018, BROWN was arrested and consented in

writing to a search of BROWN Phone 1, which he had on his person at the time of his

arrest. During a search of BROWN Phone 1, 1aw enforcement offi.cers found a video

that was created on February 1, 2018, at approximately 12:13 a..rn., shortly          afber

Holmes, Jr. and Taylor were murdered. The video showed law enforcement offi.cers

processing the scene of the murders and. examining Holmes, Jr.'s Jeep Cherokee. The

video appears to have been created from an upper floor inside MURPIfYs residence

located   at   4738 West Arthington Street,   just steps away from the murder       scene.

Below is a screenshot from the video found on BROWN Phone          1:




Phone 1 on several occasions prior to January 31, 2018, including on or about January 30,
2018. In addition, MURPIry Phone 1 is subscribed in the name of an individual who law
enforcement officers have identified as MURPIffs mother. Further, according to the lllinois
juvenile parole department, on February 2,2018, MURPIIY's mother called the juvenile
parole department and stated that MURPIIY had lost MLIRPIIY Phone 1 and she gave the
juvenile parole department a new number at which MURPIfY could be reached.
12BROWN was identified as the user of BROWN Phone 1 based in part on the following. On
February 7,2018,1aw enforcement officers arrested BROWN, who provided officers his name
and date of birth and was identified based on a positive comparison to known law
enforcement booking photographs of DEMOND BROWN. At the time of his arrest, Iaw
enforcement officers seized BROWN Phone l from BROWN's person. In addition, in January
and February 2018, BROWN was on parole based on a possession of a controlled substance
and escape/iriolation of electronic monitoring conviction. As a requirement of his parole,
BROVIN was required to provide an updated phone number at which he could be reached by
his Illinois Department of Corrections paroie officer. As of January 31, 2018, the phone
number on file for BROWN was the phone number for BROWN Phone 1.



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              3.    Phone Records from January 31, 2019 Confirm Contacts
                    Among the Co-Conspirators and between MURPIfY and
                    Holmes, Jr.

        27.   Accord.ing to phone record.s for iolmes, Jr. Phone 1, MURPIry Phone   1,


BROWN Phone 1, and MORGAN Phone 1, there were numerous communications

between and among those phones on January 31, 2018, the day Holmes,        Jr. and
Taylor were murdered. For example, phone records show that, on January 31, 2018:

              a.    At approximately   10:44 p.m., MORGAN Phone 1 received two

calls from Holmes, Jr. Phone   1.


              b.    Two minutes later, at approximately 10:46 p.o., MORGAN Phone

1 and   MURPIfY Phone 1 participated in a caII.

              c.    Between approximately lO:44 p.m. and 11:05     p.n., MURPIfY

Phone 1 and Holmes, Jr. Phone 1 exchanged approximately six voice calls and texts.

Prior to this date, MURPIfY Phone 1 and Holmes, Jr. Phone      t had never been in
contact with each other. The last phone call between MURPIfY Phone 1 and Holmes,



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Jr. Phone 1, which occurred at 11:05 p.fl., was the final phone call that Holmes, Jr.

participated in before he was murdered approximately 8 minutes later.

       28.   Based on my training, experience, and familiarity             with this case-
including the aforementioned intercepted caIls, CD-1's consensually recorded

meetings with BROWN and MURPIIY, information obtained from Witness 1 and CS-

1, information obtained from the scene of the murders, and location information for

BROWN Phone 1 and MURPIIY Phone             1-I    believe that, during the aforementioned

calls documented by these phone record.s, (a) MORGAN lured. Holmes, Jr. to the scene

of the murders by falsely telling him that BROWN and MURPIIY would contact him

to make arrangements to deliver a firearm and cash that MORGAN owed Holmes,

Jr.; (b) BROWN and MURPIry made arrangements to meet with Holmes, Jr. at or

near 4734 West Arthington Street, purportedly to deliver a fi.rearm and cash, at

MORGAN's request; and (c) MORGAN, BROWN, and MURPIfY lured Holmes, Jr. to

that location with the intent to kill him there.

      29.    Law enforcement offrcers obtained video surveillance footage from a BP

Gas Station located at 749 S. Cicero, which is approximately one block north of 4734

West Arthington Street, where Holmes,          Jr. and Taylor were murdered. In this
surveillance footage, which recorded both video and audio:

             a.     Holmes, Jr. is captured insid.e the gas station, at approximately

77:O2p.ffi., approximately 11 minutes before he was murdered..

             b.     Holmes, Jr. participated in two phone calls using a cell phone.

During the first call, at approximately   L1.:02   p.D., Holmes, Jr. stated to the individual




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on the other end of the line (believed to be MURPIfY),rs "H"y, where you exactly stay

at, kid? Right offthe alley, correct? I am going to call you right back. Let me tell him

to come out."

       30.      Between approximately 10:45 p.m. on January 31, 2018, and 12:40 a.m.

on February 1, 2018-the period of time immediately before and after the                                                   murders-

there were approximately six calls and texts between BROWN Phone 1 and

MORGAN Phone         1. Notably, on February 1, 2018, at approximately                                               12:40

approximately an hour and a half after the murders- BROWN Phone                                                      1-   sent a text

message to MORGAN Phone 1. The text message was a screenshot of a breaking news

article regarding the murder of Holmes, Jr. and Taylor. Below is a screenshot of the

article that was recovered during the search of BROWN Phone                                                     1:

                                    ilrlsDrlnt   L1E                  r3AOL                          I lztE
                                                             C    googh-corn                                C

                                      Mct    mtly, a !E eil rwm                       wrc shoted
                                      tilled mund u:rc           po      io the W6t Side's
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                                      vebide ia the 47oo bloc,h of Wrst Arthbgton
                                      Sueet Tteywre both prcuoueil dail m s@.

                                      Offes      rcped    oiu         sme   tape   muil        a   ilark-
                                      olored SW.       lte   vehicle      w    ugled      i!   the   stret

                                      (omf,
13Agents identified MIIRPIIY as the individual spehk;ng with Holmes, Jr. at that.time as
follows: According to phone records, the first call recorded by the gas station surveiflance
camera coincides with a 44 second call at approximately 11:01 p.m. between HOLMES, JR.
Phone L and MURPIIY Phone 1.



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              4.    BROWN and MURPHY Purchased a Car the Day After the
                    Holmes, Jr. and Taylor Murders.

        31.   As noted above, during the recorded conversations in Cook County Jail,

MURPIIY told CD-l that he and BROWN purchased a car using some of the money

that MORGAN paid them for the murder. During the search of BROWN Phone                   1,


offi.cers reviewed the internet browser history and determined    that on February 1,

20L8,   at approximately   L0:54   &.r., BROWN searched craigslist.org   fl,   vehicles for

sale for $1,000. Offi,cers also discovered text messages in which BROWN Phone             1


received photos of used cars, including the following:




        g2.   During the investigation, officers interviewed Witness 2, who stated

that she/he buys used vehicles at auctions and sells them for a profi.t. According to

Witness 2, ort February 1, 2018, Witness 2 sold BROWN a tan 2003 Buick LeSabre

Custom for $900 in cash.

        33.   Based on my training, experience, and familiarity     with this case-
including CD-l's consensually recorded meetings with BROWN and MURPIfY,



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communications recovered from BROWN Phone 1, and information obtained from

Witness    2-I      believe that BROWN purchased the tan 2003 Buick LeSabre Custom

with    a portion of the money     that MORGAN paid him for murdering Holmes, Jr.

                   5.    On February 5, 2018, MORGAN, MURPHY, and BROWN
                         Met Near the Scene of the Murder.
         34.       On Febru ary   5,   2018,   at approximately 2:55 p.m--approximately five

d.ays   after Holmes, Jr. and Taylor were murdered-surveillance observed the
following:

                   a.    MORGAN,Ia driving a black Volvo SIfV, parked to the east of

MURPIIYs. residence         at    4738 West Arthington Street, near      the location where
MURPIry hved and where Elolmes, Jr. and Taylor had been murdered.

                   b.    After MORGAN arrived, MURPIIY and BROWN                      exited
               ,
MURPIilTs residence at 4738 West Arthington Street and approached MORGAN's

Volvo SIfV. Surveillance then observed MORGAN hand MURPIIY an unknown item.

                   c.    Moments later, MURPIIY ran with the item he had received from

MORGAN and entered his residence at 4738 West Arthington. BROWN then walked

away from MORGAN's Volvo SIIV and entered MURPIIYs residence. MORGAN

drove away from the area.

         35.       Based on training, experience, and knowledge of the investigation,      I
believe that MORGAN, BROWN and MURPIIY met on February 5, 2018 for the

purpose of discussing the murder-for-hire conspiracy, so that MORGAN cciuld pay


1aLaw enforcement officers identified MORGAN on February 5, 2018 as the driver of the
Volvo SIIV based on a positive comparison to a CPD booking photo of DESIIAWN MORGAN.



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BROWN and MURPIIY money owed MORGAN owed them for carrying out the

murder on January 31, 2018, or both.

                 5.    BROWN Traveled to Minnesota               to Swap the Murder
                       Weapon for another gun.

          36.    As discussed above, on or about February 7,2018, agents executed.         a


search warrant at MURPEfYs residence on the 4700 block of West Arthington Street,

but did not recover the murder weapon during that search. Further, as discussed

above, during recorded conversations      in   Cook County Jail on September 28, 2018,

BROWN explained that before law enforcement searched the house, he had removed

the murder weapon and other evidence. Specifically, BROWN said, "I had moved

everything out already."

          37.   Based on court-authorized historical cell site data for BROWN Phone        1,


as well as photographs and other information on BROWN Phone 1, Iaw enforcement

offi.cers determined that BROWN traveled from Chicago to Minneapolis, Minnesota

on or about February 9,20L8      until at least February   18, 2018.

          38.   On February 9, 2018, at approximately 10:40 &.8., BROWN, using

BROWN Phone 1, participated in a call with MURPIfY, who was in custody at Cook

County Jail following an arrest for a firearms offense.ls During the call:

                 a.    MURPIfY said, "Where you at?" BROWN replied, "I'm down here,

shorty. You know,      I had to take a trip   [BROWN traveled to Minnesota to swap the



15The call was recorded based on Cook Counf,y Jail's standard recording policy. The jail's
recor[ing policy is announced at the beginning of every cail and periodically throughout each
calI.



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murder weapon for another firearm]." MURPI{Y said, "Oh yeah. Yeah. Yeah. Yeah.

That was smart as fuck!"

             b.    MURPIIY added, "I love you for that, shorty!" BROWN said, 'You

already know, bro...I'm Iike,   I   can   kill two birds with   one stone. Go down here

TBROWN traveled. to Minnesota both to         visit family and to swap out the   murd.er

weaporj.'

      39. On February L4, 2018, between uppro*i-ately                 7:51 p.m. and at

approximately 8:38 p.m., BROWN (while in Minnesota), using BROWN i'hone               1,


exchanged a series of text messages with Individual C, a relative of BROWN who

lives in Minnesota. During this conversation, BROWN and Individual C negotiated

the exchange of the suspected murd.er weapon for another firearm. Specffically:

                   Individual C stated, "9 8 shots with a beam [9mm pistol with        8

bullet capacity and a laser sight]." At the same time, Individual C also sent the

following of a photograph of a Taurus, Model PT 709, 9 mm pistol:




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             b.       BROWN, responded, 'Yeah.    I want it."   Moments later, BROWN

stated, "This the one I'm fi.nna give you," and sent the followingphotograph of a Smith

and Wesson pistol, which agents believe MURPIfY used to murder Holmes, Jr. and

Taylor, BROWN:




      40.    Three days later, on February L7, 2018, Iaw enforcement offi,cers in

Wisconsin arrested Individual D in Milwaukee. At the time of his arrest, Individual

D, a resident of Minnesota, possessed a Smith and Wesson, Model SD9VE, 9 mm

pistol, bearing serial number FXT8477. Based on ballistic testing, law enforcement

officers confirmed that the Smith and Wesson firearm that Individual D possessed on

February 17,   2OL8   was the same fi.rearm used to murder Holmes, Jr. and Taylor on

January'31, 2018.

      4L.    Based on training, experience, and knowledge of the investigation, other

Iaw enforcement officers and      I   believe that BROWN traded the weapon that

MURPIry used to murder Holmes, Jr. and Taylor-namely, a Smith and Wesson,

Model SD9VE, 9 mm pistol, bearing serial number FXT8477-to Individual C in


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exchange     for another gun-namely, a Taurus, Model PT 709, 9 mm pistol-and
Individual C in turn gave or sold the murd.er weapon to Individ.ual D, who was

arrested with the murder weapon in Wisconsin on February L7,20L8.

U.       CONCLUSION

         42.   Based on the foregoing facts, I respectfully submit that there is probable

cause to believe that, from   in or about December 2Ot7 to in or about February 20L8,

DESHAWN MORGAN, DARIUS MURPIIY, and DEMOND BROWN conspired with

each other to use, and cause another to use, an interstate facility, that is, a cellular

telephone, with intent that a murd.er be committed., that is, the murder of Holmes,

Jr. and Taylor, as consideration for a promise and agreement to pay something of

pecuniary value, that is, United States currency, in violation of Title 18 United States

Cod.e,   Section 1958.


FURTHER AFFIANT SAYET"            *O'

                                         PAUL R. DAOU
                                         Special Agent, Bureau of Alcohol, Tobacco,
                                         Firearms & Explosives
                                                            I




                                   before me on August 9,20L9.




United States Magistrate Judge




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